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                %]:FP;RYcHWcG;U;8ac;RY;U;:cHRc>^SUcS<cTN7IRYI@c*S^Sc*SU:IWMc7WcW;YcCU[Gc78S^;

   NOc 9N7IPWc 7WW;U[;:c HRc YGHWc 79YJSRc7U;c G;U;8ac :IWPIWW;:c _HYGS]Yc TU;L]:I9;c ;`9;TYcYG7YcYGIWc

   S]U[cWG7NOcU;Y7HRcL]UHW:H9YISRcCUcYG;cT]UTSW;cS<c;RCU9HRFcYG;cT7U[H;WcW;YYO;P;RYc7FU;;P;RYc\HWc

   "HR7Oc%]:FP;RYc7R:c7WcSYG;U_HW;cTUS^I:;:cG;U;IR c

                 $Rc799SU:7R9;c_IYGcYG;c(7RG7Pc9Ycc0 .  cbccYG;cO;UMcS<cYG;cS]U[c WG7NO

   RSYHEcYG;c HU;9YSUcS<cYG;c,7Y;RYc7R:c/U7:;P7UMc +=B9;cS<cYG;c;RYUacS<cYGHWc"HR7Oc%]:FP;RYc_GSc

   WG7ONc;RY;UcIYcSRcYG;cU;9SU:WcS<cYG;c,7Y;RYc7R:c/U7:;P7UMc+=B9; c

                 /GIWc "HR7Nc %]:FP;RYc WG7NOc 8;c :;;P;:c YSc G7^;c 8;;Rc W;U^;:c SRc ;?R:7RYc IYW

   S=B9;UWc :IU;9YSUWc WG7U;GSN:;UWc S_R;UWc ;PTNSa;;Wc 7R:c 7YYSV;aWc 7R:c 7NOc

   YGSW;cIRc79YH^;c9SR9;U[cSUcT7U[H9HT7YHSRc_IYGcYG;Pc7WcS<cYG;c:7Y;cS<c;RYUacG;U;S<c8acYG;cS]U[ c


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   YYSV;aWcCUc,O7HRYIAWc                                     SQ;aXcCUc ;?R:7RZc
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   MIP8;UO;a T7UUHWG8S_P7R7R:8USSM;9SP
